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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

MARCO A. FERNANDEZ, *
Plaintiff *
v. . CIVIL NO. JKB-19-1190
RENTGROW, INC., *
Defendant. *
we * * * * * * * * * *
ORDER

On June 15, 2022, the parties filed a Joint Motion to Stay. (See ECF No. 237.) The Joint
Motion to Stay (ECF No. 237) is GRANTED and this case is stayed in its entirety pending

resolution of appeal number 22-1619 in the Fourth Circuit.

DATED this /€ day of June, 2022.

BY THE COURT:

Quam Ke 2h

James K. Bredar
Chief Judge

